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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JILLIAN SCHROTBERGER,                         :
      Plaintiff,                              :
                                              :       21-cv-0364-JMY
       v.                                     :
                                              :
JOHN DOE, as the ADMINISTRATOR                :
of the ESTATE OF ANDREAS                      :
SCHNEIDER-NEUREITHER, et al,                  :
        Defendants.                           :

                                             ORDER

       AND NOW, this 1st day of September, 2022, upon consideration of the dual Motions to

Dismiss for Lack of Personal Jurisdiction under Federal Rule of Civil Procedure 12(b)(2) filed

by SN Assets Americas, LLC, and SNP Schneider-Neureither & Partner SE (ECF Nos. 53 & 55),

all papers submitted in support thereof and in opposition thereto, and for the reasons set forth in

the accompanying Memorandum filed by the Court, it is hereby ORDERED that said Motions to

Dismiss for Lack of Jurisdiction shall be GRANTED. The Defendants SN Assets Americas,

LLC, and SNP Schneider-Neureither & Partner SE are hereby DISMISSED from this lawsuit

based on the Court’s lack of personal jurisdiction.

       It is further ORDERED that the Motion to Stay Discovery filed by SNP Schneider-

Neureither & Partner SE (ECF No. 41), shall be DENIED as MOOT.



                                              BY THE COURT:

                                                /s/ John Milton Younge
                                              Judge John Milton Younge
